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1         CENTER FOR DISABILITY ACCESS
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7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11       Andres Gomez,                          Case No.

12               Plaintiff,
                                                Complaint for Damages and
13         v.                                   Injunctive Relief for Violations
                                                of: American’s With Disabilities
14       Cuvaison, Inc., a California           Act; Unruh Civil Rights Act
         Corporation;                           NOT RELATING TO A
15
                                                CONSTRUCTION-RELATED
                 Defendants.                    BARRIER AS DEFINED IN CAL.
16
                                                CIV. CODE § 55.3
17
18
         Plaintiff Andres Gomez (“Plaintiff”) complains of Cuvaison, Inc., a
19
     California Corporation, (“Defendants”), and alleges as follows:
20
         PARTIES:
21
         1. Plaintiff is a visually-impaired individual and a member of a protected
22
     class of persons under the Americans with Disabilities Act. Plaintiff Talkback
23
     or similar software to navigate websites and applications on electronic devices.
24
     Plaintiff is legally blind1 and cannot use an electronic device without
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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1    assistance of screen-reader software (“SRS”)
2      2. Defendant Cuvaison, Inc. (“Cuvaison, Inc.”) owned or operated
3    Cuvaison Winery located in Napa County, California, in March 2021 and
4    August 2021.
5      3. Defendant Cuvaison, Inc. owns or operates Cuvaison Winery located in
6    Napa County, California, currently.
7      4. Defendant Cuvaison, Inc. owned or operated Cuvaison Winery website,
8    with a root domain of: https://www.cuvaison.com/ and all related domains,
9    sub-domains and/or content contained within it, (“Website”) in March 2021
10   and August 2021.
11     5. Defendant Cuvaison, Inc. owns or operates Cuvaison Winery’s Website
12   currently.
13     6. Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of
16   and alleges a joint venture and common enterprise by all such Defendants.
17   Plaintiff is informed and believes that each of the Defendants herein, is
18   responsible in some capacity for the events herein alleged or is a necessary
19   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
20   the true names, capacities, connections, and responsibilities of the Defendants
21   are ascertained.
22
23     JURISDICTION & VENUE:
24     7. The Court has subject matter jurisdiction over the action pursuant to 28
25   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
27     8. This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are


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1    formed from the same case and/or controversy and are related to Plaintiff’s
2    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
3      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
4    is subject to personal jurisdiction in this District due to its business contacts
5    with the District, and a substantial portion of the complained of conduct
6    occurred in this District.
7
8      FACTUAL ALLEGATIONS:
9      10. Plaintiff is a legally blind person and a member of a protected class
10   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
11   and read internet content on electronic devices.
12     11. Plaintiff cannot use an electronic device without the assistance of
13   screen reader software. (“SRS”).
14     12. Cuvaison, Inc. operates privileges, goods or services out of a physical
15   location in California. These services are open to the public, places of public
16   accommodation, and business establishments.
17     13. The Website is a nexus between Cuvaison, Inc. customers, and the
18   terrestrial based privileges, goods or services offered by Cuvaison, Inc..
19     14. Cuvaison, Inc. offers websites and digital booking as some of the
20   facilities, privileges, and advantages offered by Defendants to patrons of
21   Cuvaison, Inc. in connection with their patronage at Cuvaison, Inc..
22     15. Among the services offered include: details about the wines and
23   Cuvaison, Inc. itself, location and contact information; Cuvaison, Inc. policies;
24   information about wine on sale, deals and promotions without any ambiguity
25   as to the amenities that would be available to the patron.
26     16. Plaintiff was a prospective customer who wished to access Defendant’s
27   goods and services of Cuvaison, Inc..
28     17. Plaintiff visited the Website in March 2021 and August 2021 with the


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1    intent get information about wines sold at the vineyards and wine tasting tours.
2      18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
3    numerous accessibility design faults that prevented him from navigating the
4    site successfully using SRS. Investigation into his experience revealed barriers,
5    including, but not limited to:
6                     a. Images on the website lack a text equivalent readable by
7                          SRS.
8                     b. The website contains script elements that are not
9                          identified with functional text readable by SRS.
10                    c. The visualization of the webpage contains impermissibly
11                         low contrast enabling differentiation of background and
12                         foreground elements.
13     19. These inaccessible elements rendered the ostensibly “accessible”
14   elements inaccessible as a result of difficulty and confusion navigating the
15   numerous inaccessible elements.
16     20. Currently, the defendants either fail to provide an accessible website or
17   Defendants have failed to maintain in working and useable conditions those
18   website features required to provide ready access to persons with disabilities.
19     21. Despite multiple attempts to access the Website using Plaintiff’s
20   electronic device, Plaintiff has been denied the full use and enjoyment of the
21   facilities, goods and services offered by Defendants as a result of the
22   accessibility barriers on the Website.
23     22. Plaintiff personally encountered accessibility barriers and has actual
24   knowledge of them.
25     23. By failing to provide an accessible website, the defendants denied
26   Plaintiff full and equal access to the facilities privileges or advantages offered
27   to their customers.
28     24. Plaintiff has been deterred from returning to the Website as a result of


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1    these prior experiences.
2      25. The failure to provide accessible facilities created difficulty and
3    discomfort for the Plaintiff.
4      26. If the website had been constructed equally accessible to all individuals,
5    Plaintiff would have been able to navigate the Website and find information on
6    wines on sale.
7      27. Additionally, Plaintiff is a tester in this litigation and seeks future
8    compliance with all federal and state laws. Plaintiff will return to the Website
9    to avail himself of its goods and/or services and to determine compliance with
10   the disability access laws once it is represented to him that Cuvaison, Inc. and
11   Website are accessible.
12     28. Plaintiff is currently deterred from doing so because of Plaintiff’s
13   knowledge of the existing barriers and uncertainty about the existence of yet
14   other barriers on the Website. If the barriers are not removed, Plaintiff will
15   face unlawful and discriminatory barriers again.
16     29. The barriers identified above violate easily accessible, well-established
17   industry standard guidelines for making websites accessible to people with
18   visual-impairments that use SRS to access websites. Given the prevalence of
19   websites that have implemented these standards and created accessible
20   websites, it is readily achievable to construct an accessible website without
21   undue burden on Cuvaison, Inc. or a fundamental alteration of the purpose of
22   the Website.
23     30. Compliance with W3C Web Content Accessibility Guidelines
24   (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
25   standard that has been adopted by California courts for website accessibility.
26     31. It’s been established that failure to remove these inaccessible conditions
27   violates the ADA and California law and requiring compliance with industry
28   access standards is a remedy available to the plaintiff.


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1      32. The Website was intentionally designed, and based on information and
2    belief, it is the Defendants’ policy and practice to deny Plaintiff access to the
3    Website, and as a result, denies the goods and services that are otherwise
4    available to patrons of Cuvaison, Inc.
5      33. Due to the failure to construct and operate the website in line with
6    industry standards, Plaintiff has been denied equal access to Defendant’s
7    vineyards and the various goods, services, privileges, opportunities and
8    benefits offered to the public by Cuvaison, Inc.
9      34. Given the nature of the barriers and violations alleged herein, the
10   plaintiff alleges, on information and belief, that there are other violations and
11   barriers on the website, and/or at Cuvaison, Inc., that relate to his disability. In
12   addition to the barriers he personally encountered, Plaintiff intends to seek
13   removal of all barriers on the Website that relate to his disability. See Doran v.
14   7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that once a plaintiff
15   encounters one barrier, they can sue to have all barriers that relate to their
16   disability removed regardless of whether they personally encountered the
17   barrier).
18     35. Plaintiff will amend the complaint, to provide further notice regarding
19   the scope of the additional demanded remediation in the event additional
20   barriers are uncovered through discovery. However, please be on notice that
21   the plaintiff seeks to have all barriers related to his disability remedied.
22
23   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
24   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
25   Defendants.) (42 U.S.C. section 12101, et seq.)
26     36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
27   again herein, the allegations contained in all prior paragraphs of this
28   complaint. Cuvaison, Inc. is a public accommodation with the definition of


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1    Title III of the ADA, 42 USC § 12181.
2      37. The website provided by the Defendant is a service, privilege or
3    advantage and extension of Cuvaison, Inc. physical presence and terrestrial
4    services.
5      38. When a business provides services such as a website, it must provide an
6    accessible website.
7      39. Here, an accessible website has not been provided. A failure to provide
8    an accessible website is unlawful discrimination against persons with
9    disabilities.
10     40. Under the ADA, it is an act of discrimination to fail to ensure that the
11   privileges, advantages, accommodations, facilities, goods and services of any
12   place of public accommodation is offered on a full and equal basis by anyone
13   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
14   § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
15   reasonable modifications in policies, practices, or procedures, when such
16   modifications are necessary to afford goods, services, facilities, privileges,
17   advantages, or accommodations to individuals with disabilities, unless the
18   accommodation would work a fundamental alteration of those services and
19   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
20     41. Here, the failure to ensure that the accessible facilities were available
21   and ready to be used by the plaintiff is a violation of the law.
22     42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
23   set forth and incorporated therein, Plaintiff requests relief as set forth below.
24
25   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
26   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
27   Code § 51-53.)
28     43. Plaintiff repleads and incorporates by reference, as if fully set forth


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1    again herein, the allegations contained in all prior paragraphs of this
2    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
3    that persons with disabilities are entitled to full and equal accommodations,
4    advantages, facilities, privileges, or services in all business establishment of
5    every kind whatsoever within the jurisdiction of the State of California. Cal.
6    Civ. Code §51(b).
7      44. The Unruh Act provides that a violation of the ADA is a violation of the
8    Unruh Act. Cal. Civ. Code § 51(f).
9      45. Defendants’ acts and omissions, as herein alleged, have violated the
10   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
11   rights to full and equal use of the accommodations, advantages, facilities,
12   privileges, or services offered.
13     46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
14   discomfort or embarrassment for the plaintiff, the defendants are also each
15   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
16   55.56(a)-(c).
17     47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
18   set forth and incorporated therein, Plaintiff requests relief as set forth below.
19
20          PRAYER:
21          Wherefore, Plaintiff prays that this Court award damages and provide
22   relief as follows:
23       1. A Declaratory Judgment that at the commencement of this action
24   Defendants were in violation of the requirements of the ADA due to
25   Defendants’ failures to take action to ensure that its Website was fully
26   accessible to and independently usable by blind and visually-impaired
27   individuals.
28


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1          2. For equitable nominal damages for violation of civil rights. See
2    Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
3    relief the Court finds appropriate.
4          3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
5    enjoining Defendants from violating the ADA with respect to its Website.
6          4. Damages under the Unruh Civil Rights Act § 512, which provides for
7    actual damages and a statutory minimum of $4,000 for each offense.
8          5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
9    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
10
11   Dated: March 15, 2022               CENTER FOR DISABILITY ACCESS
12
13
14                                       By: ______________________________
15                                       Amanda Seabock, Esq.
                                         Attorney for Plaintiff
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27       Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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